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                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA


 IN RE:                                                      BK−19−15172−abl
                                                             CHAPTER 11
 NATIONAL MERCHANDISING SERVICES, LLC


                                  Debtor(s)                  ORDER GRANTING VERIFIED PETITION




The submitted document "Verified Petition for Permission to Practice in this Case Only by Attorney not Admitted to
the Bar of this Court" filed by WILL B. GEER is GRANTED.



Dated: 8/30/19


                                                          Mary A. Schott
                                                          Clerk of Court
